       Case 3:15-cr-00002-DHB-BKE Document 35 Filed 05/04/15 Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )            CR 315-002
                                               )
JAMES RASHUN McCORMICK                         )
                                           _________

                                           ORDER
                                           _________

       Before the Court are the various pretrial discovery motions filed by Defendant. Many (if

not all) discovery issues should be addressed in full by the Court’s rulings below and the liberal

discovery policy that the government has confirmed it is applying in this case. To the extent, if

any, either party believes there are specific inadequacies in the discovery exchanged to date that

are not addressed below, the Court directs such party to confer in good faith with the opposing

party and file, if necessary, a discovery motion and supporting brief within seven days from the

date of this Order.

                             GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, he does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with the investigative reports, scientific reports (if

any), and other documents material to the case (attorney and agent work product excepted).

(Doc. no. 33, p. 1.) All known statements by Defendant, as well as his criminal record, have also

been provided. (Id. at 2.) Accordingly, the Court finds that the position of the United States
       Case 3:15-cr-00002-DHB-BKE Document 35 Filed 05/04/15 Page 2 of 6




Attorney in permitting liberal disclosure of the government’s file pertaining to this case renders

the general discovery requests MOOT. (Doc. no. 27.)

                             MOTION FOR DISCLOSURE OF
                       EXCULPATORY AND IMPEACHING MATERIAL

        Defendant seeks the disclosure of exculpatory and impeaching information in accordance

with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972). (Doc. no. 21.) To some extent, Defendant’s requests exceed the scope of the

requirement in Brady for government disclosure of information that is favorable to a defendant

and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United States v. Agurs,

427 U.S. 97 (1976). The Court GRANTS the motion to the extent that the government must

provide all Brady material to Defendant within five days of the date it is received or its existence

becomes known. The government must disclose impeaching information not less than fourteen

days prior to trial.

                            MOTION TO RESERVE THE RIGHT
                             TO FILE ADDITIONAL MOTIONS

        The Court DENIES this motion filed by Defendant. (Doc. no. 22.) The Court ordered

that all motions in this case were to be filed within fourteen days of the date of arraignment. A

motion may not be filed outside the deadlines set at arraignment except by leave of court upon a

showing of cause. United States v. Smith, 918 F.2d 1501, 1509 (11th Cir. 1990); see Fed. R.

Crim. P. 12(c), (e). This Order, however, does not prohibit Defendant from making his showing

of cause contemporaneously with the filing of out-of-time motions.




                                                 2
       Case 3:15-cr-00002-DHB-BKE Document 35 Filed 05/04/15 Page 3 of 6




                  MOTION FOR NOTICE BY THE GOVERNMENT OF THE
                 INTENTION TO RELY UPON OTHER CRIMES EVIDENCE
                   PURSUANT TO FEDERAL RULE OF EVIDENCE 404(b)

       Defendant seeks notice of the government’s intention to use at trial evidence of “other

crimes, wrongs or acts” under Fed. R. Evid. 404(b). This motion is MOOT (doc. no. 24)

because the Court, in its Arraignment Order, directed the government to provide such notice in

accordance with the Local Rules.

            MOTION FOR PRODUCTION OF DEFENDANT’S STATEMENTS

       In light of the government’s liberal discovery policy and its disclosure that all known

statements by Defendant have been produced (doc. no. 33, p. 2), the request for the production of

Defendant’s own statements is MOOT. (Doc. no. 25.)

    MOTION FOR PRODUCTION OF SUBSTANCE OF HEARSAY STATEMENTS

       As the Court trusts that counsel for the government is thoroughly familiar with the notice

requirements of Rule 807 and will provide such notice to Defendant, this request is MOOT.

(Doc. no. 26.)

      MOTIONS FOR DISCLOSURE OF NAMES, ADDRESSES, AND CRIMINAL
                       RECORDS OF WITNESSES

       Defendant has filed two motions requesting that the government be ordered to furnish the

names and addresses, as well as the criminal records, of witnesses. In non-capital cases such as

this case, a defendant is generally not entitled to a list of government witnesses. United States v.

Massell, 823 F.2d 1503, 1509 (11th Cir. 1987); United States v. Johnson, 713 F.2d 654, 659

(11th Cir. 1983); United States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981). While this

Court retains the right to exercise its discretion in permitting Defendant to have access to a list of

government witnesses, at most the government would be required to comply with this request not
                                                  3
      Case 3:15-cr-00002-DHB-BKE Document 35 Filed 05/04/15 Page 4 of 6




more than fourteen days prior to trial. Therefore, the Court DENIES the motion for a witness

list. (Doc. no. 28.) However, as a practical matter, it would appear that Defendant will be

receiving much of this information because of the government’s liberal discovery policy and

because of the government’s obligation to disclose material pursuant to the Jencks Act and/or

Brady v. Maryland, 373 U.S. 83 (1963).

       The Court next turns to the request for the disclosure of prior criminal conduct and

uncharged bad acts of witnesses.         The Confrontation Clause guarantees defendants an

opportunity to impeach the testimony of prosecution witnesses through cross examination.

United States v. Maxwell, 579 F.3d 1282, 1295-96 (11th Cir. 2009); United States v. Yates, 438

F.3d 1307, 1318 (11th Cir. 2006) (en banc); United States v. Lyons, 403 F.3d 1248, 1255-56

(11th Cir. 2005); United States v. Baptista-Rodriguez, 17 F.3d 1354, 1370 (11th Cir. 1994).

However, this right is not unlimited. Although Federal Rule of Evidence 608(b) allows cross

examination of a witness as to specific instances of misconduct, the government does not have a

duty to investigate each witness. This Rule must also be construed to limit cross examination to

those acts of conduct “which are probative of the witness’s truthfulness or untruthfulness,” such

as forgery, bribery, misrepresentation, fraud, perjury, receipt of stolen property, robbery, and

theft. 4-608 Weinstein’s Federal Evidence § 608.22. Moreover, the government has stated its

intent to provide, one week prior to trial, rap sheets or criminal convictions of witnesses which

the government learns about and which could properly be used for impeachment under Federal

Rule of Evidence 609. (Doc. no. 33, pp. 1, 4.) Beyond the government’s continuing duty to

disclose under Brady v. Maryland, 373 U.S. 83 (1963), and the parameters discussed herein, the

Court DENIES Defendant’s request for disclosure of prior crimes of witnesses. (Doc. no. 29.)

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       Case 3:15-cr-00002-DHB-BKE Document 35 Filed 05/04/15 Page 5 of 6




  MOTION FOR PRODUCTION OF STATEMENTS OF PERSONS NOT CALLED AS
                           WITNESSES

       Defendant seeks information concerning the existence and identification of potential

government witnesses that testified before any court, grand jury or other tribunal body, as well as

concerning the names, addresses, telephone numbers, or any criminal records of those persons

who may have some knowledge of the facts of this case, but will not testify.       Federal Rule of

Criminal Procedure 16(a)(1)(E) provides that a defendant is entitled to discover certain materials

if they are either (1) material to the preparation of the defense, or (2) intended by the government

to be used as evidence, or (3) were obtained from the defendant. Fed. R. Crim. P. 16(a)(1)(E).

However, this Rule is qualified and limited by Rule 16(a)(2), which provides:

                   Except as permitted by Rule 16(a)(1)(A)-(D), (F), and (G), this rule
               does not authorize the discovery or inspection of reports, memoranda, or
               other internal government documents made by an attorney for the
               government or other government agent in connection with investigating or
               prosecuting the case. Nor does this rule authorize the discovery or
               inspection of statements made by prospective government witnesses
               except as provided in 18 U.S.C. § 3500.

Rule 16(a)(2) prevents the discovery or inspection of statements made by a prospective

government witness unless such witness will testify at trial, in which case the statements are

discoverable pursuant to the Jencks Act. See generally United States v. Schier, 438 F.3d 1104,

1112 (11th Cir. 2006) (reviewing requirements for disclosure of statements of witnesses

testifying at trial and explicitly noting that “Jencks Act does not apply to the statements of non-

testifying witnesses”). The statements of persons the government does not intend to call as

witnesses at trial amount, therefore, to nothing more than internal memoranda, discovery of

which is not permitted pursuant to the explicit mandate of Rule 16(a)(2). If the statements are

not otherwise discoverable pursuant to the rule in Brady v. Maryland, 373 U.S. 83 (1963), and its

                                                 5
       Case 3:15-cr-00002-DHB-BKE Document 35 Filed 05/04/15 Page 6 of 6




progeny and no showing of materiality is made, they are not discoverable at all, and therefore the

Court DENIES the instant request. (Doc. no. 30.)

                  MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

       The Court GRANTS this motion. (Doc. no. 31.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

       SO ORDERED this 4th day of May, 2015, at Augusta, Georgia.




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